      Case: 1:17-cv-06569 Document #: 12 Filed: 10/09/17 Page 1 of 1 PageID #:52


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Chetty Sevugan, et al. v. Direct               Case Number: 17 CV 6569
            Energy Services, LLC

An appearance is hereby filed by the undersigned as attorney for:
Chetty Sevugan, individually and on behalf of all others similarly situated, Plaintiff
Attorney name (type or print): Daniel R. Karon

Firm: Karon LLC

Street address: 700 W. St. Clair Avenue, Suite 200

City/State/Zip: Cleveland, Ohio 44113

Bar ID Number: 6207193                                     Telephone Number: 216-622-1851
(See item 3 in instructions)

Email Address: dkaron@karonllc.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on October 5, 2017

Attorney signature:            S/ Daniel R. Karon
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
